Case 1:21-cv-20290-DPG Document 32-1 Entered on FLSD Docket 07/08/2021 Page 1 of 12




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.: 21-cv-20290-GAYLES/TORRES

     REYNA BONILLA,
     and other similarly situated individuals,

             Plaintiff,
     v.

     A.R. PRODUCE & TRUCKING CORPORATION
     and ANA MARTINEZ,

           Defendants.
     ____________________________________________/

           DECLARATION OF RUBEN MARTIN SAENZ AS TO ATTORNEY’S
         FEES AND COSTS IN SUPPORT OF THE PARTIES’ JOINT MOTION FOR
      APPROVAL OF FLSA SETTLEMENT AND TO DISMISS CASE WITH PREJUDICE

             1.       My name is Ruben Martin Saenz. I am the attorney of record for Plaintiffs, REYNA

     BONILLA (“Plaintiff”) and JORGE A. PEREZ (“Opt-In Plaintiff”) (collectively referred to as

     “Plaintiffs”).

             2.       I am over the age of eighteen (18) years and fully competent to testify as to the

     matters set forth in this declaration.

             3.       This declaration is based on my personal knowledge of attorney’s fees and costs to

     be charged and collected, and upon my review of the books and records of Saenz & Anderson,

     PLLC, made in the ordinary course of business and held under my supervision and control.

             4.       I am an owner of Saenz & Anderson, PLLC and have been a licensed and practicing

     attorney since May 2003. I practice primarily in Miami-Dade and Broward counties in the area of

     employment law, including wage and hour law. Throughout the years, I have successfully litigated,

     I believe, over one thousand cases on behalf of employees fighting injustice at the workplace.




                                              EXHIBIT
                                              EXHIBIT A
                                                      B
Case 1:21-cv-20290-DPG Document 32-1 Entered on FLSD Docket 07/08/2021 Page 2 of 12




            5.      I graduated from Syracuse University, College of Law in 2002. I have been a

     member of the Florida Bar since May of 2003. I am also a member of the United States District

     Court for the Southern District of Florida, the United States District Court for the Middle District

     of Florida, and the United States Court of Appeals for the 11th Circuit.

            6.      Since 2003, the primary focus of my practice has been employment law.

            7.      Throughout my career, my practice has been in both state and federal courts. I have

     consulted, litigated and tried cases involving employees’ rights under the FLSA, Title VII, the

     Florida Civil Rights Act of 1992, Florida Whistleblower’s Act, the Florida Worker’s

     Compensation Act, the Family and Medical Leave Act of 1993 and other employee-related laws.

            8.      I have been selected as a Florida Rising Star by the Super Lawyers Magazine in

     2012, 2013 and 2014. I have also tried and won what I believe is the largest verdict in a religious

     discrimination case in Florida.

            9.      I have authored articles, chapters, and the book written in Spanish titled “My Rights

     as an Employee in the U.S., Part 1: The Basic Rights (2010).” Along with my law partner, Ilona

     Anderson, I have also coauthored the book titled “How to File for Employment Discrimination

     with the Equal Employment Opportunity Commission (the EEOC).”

            10.     My reputation and proven abilities have allowed me to maintain my practice

     through referrals from attorneys and from former and current satisfied clients.

            11.     I have prepared (or collaborated in the preparation) and fully reviewed the motion

     for approval of settlement agreement in the instant action and I attest that the motion is well-

     grounded in fact and law.

            12.     The attached billing and expense records specifically indicate the activity

     performed by my law partner, Ilona Anderson, my firm’s Lead Litigation Attorney, Tanesha W.




                                            EXHIBIT A
                                            EXHIBIT B
Case 1:21-cv-20290-DPG Document 32-1 Entered on FLSD Docket 07/08/2021 Page 3 of 12




     Blye, my firm associate(s), our support team, and by the undersigned in prosecuting the above-

     styled action. The referenced billing and expense records are attached hereto as Exhibit 1 to this

     declaration.

               13.     Mrs. Blye and my firm’s legal team are highly experienced in litigating

     employment matters, including cases under the FLSA.

               14.     I am of the opinion that the number of hours spent in the instant case was

     reasonable and necessary considering the nature of this litigation and all the circumstances

     surrounding it.

               15.     My firm routinely bills all its FLSA cases for plaintiffs at the rate of $400.00 per

     hour for the professional services that are rendered. My hourly rate of $400.00 per hour reflects

     Mrs. Blye’s and my skill and experience in litigating employment cases and is reasonable

     considering the relevant legal marketplace. My firm’s attorneys, who helped me litigate this case

     under my supervision, also bill at the rate of $400.00 per hour or $250.00 per hour. Their relevant

     experience is highlighted in my firm’s website (https://www.saenzanderson.com/attorneys/).

               16.     My associate Aron Smukler, Esq., who works under my supervision and control,

     bills at a rate of $250.00 per hour. He has experience litigating employment cases as he has been

     working for my firm first as a paralegal since August of 2018 and then as an attorney at law since

     April 16, 2020. Mr. Smukler is knowledgeable in FLSA law and has attended at least 3 of my

     trials.

               17.     Based upon my experience, familiarity with rates charged by other lawyers, and

     fees awarded in similar litigation by federal district courts and state circuit courts in Florida, I

     believe that my rate (and that of those attorneys associated with my firm) of $400 per hour is

     reasonable. I also believe that my law clerk and paralegal’s rate ($75 per hour) is also reasonable.




                                               EXHIBIT A
                                               EXHIBIT B
Case 1:21-cv-20290-DPG Document 32-1 Entered on FLSD Docket 07/08/2021 Page 4 of 12




            18.     I am of the opinion that the work performed was done efficiently and effectively

     and that the time spent on that work was reasonable and not excessive.

            19.     The undersigned is seeking compensation for attorneys’ fees incurred on behalf of

     Plaintiffs. However, I specifically agree to reduce my total billing invoice to the amount indicated

     in the settlement agreement and in the motion for approval of the FLSA settlement agreement,

     because I believe such reduction was necessary to help my clients reach a favorable settlement in

     her case.

            20.     In addition, the Plaintiffs have incurred costs and the undersigned is seeking

     reimbursement in the amount of $2,242.00.

            UNDER PENALTIES OF PERJURY, I DECLARE THAT I HAVE READ THE

     FOREGOING DECLARATION AND THAT THE FACTS STATED IN IT ARE TRUE.



                                                                          /s/ R. Martin Saenz
                                                                          ________________________
                                                                          R. MARTIN SAENZ, ESQ.




                                            EXHIBIT A
                                            EXHIBIT B
Case 1:21-cv-20290-DPG Document 32-1 Entered on FLSD Docket 07/08/2021 Page 5 of 12
           Bonilla, Reyna v. AR Produce
                                                                                                                                          Case details generated 07/02/2021




    Date Range:     All time                                                                                                                           Add Time Entry


    Billable vs total                           Invoiced vs total                          Total amount and hours recorded

    $20,847.50                                  $0.00                                      $20,847.50
    83.03 hour(s)                               0 hour(s)                                  83.03 hour(s)

                                                                                                                                                          Text Size

    DATE                       ACTIVITY                DURATION     DESCRIPTION                                          RATE         TOTAL       STATUS      USER

    Jul 2, 2021                Meeting with            0.20         Co-counsel Martin Saenz regarding Declaration           $400.00/hr $80.00     Open        Tanesha
                                                                    regarding fees and costs, in preparation for finalizing                                   Blye
                                                                    Motion for Approval of FLSA Settlement Agreement.

    Jul 2, 2021                Correspond              0.30         Confer with opposing counsel regarding Joint Motion $400.00/hr $120.00        Open        Tanesha
                                                                    for Approval of FLSA Settlement.                                                          Blye

    Jul 2, 2021                Draft and Finalize      0.80         Motion for Approval of FLSA settlement and           $400.00/hr $320.00       Open        Tanesha
                                                                    proposed order; prepared exhibits.                                                        Blye

    Jul 2, 2021                settlement              0.20         checks                                               $75.00/hr    $15.00      Open        Ursula
                                                                                                                                                              Lanfranco

    Jun 23, 2021               Review                  0.10         uploads add deadlines                                $75.00/hr    $7.50       Open        Ursula
                                                                                                                                                              Lanfranco

    Jun 23, 2021               upload docs             0.05         PAPERLESS ORDER administratively closing case        $50.00/hr    $2.50       Open        Ana G
                                                                    in light of [28] Notice of Settlement                                                     Turcios

    Jun 22, 2021               Receive/Review ECF      0.05         30                                                   $250.00/hr $12.50        Open        Aron
                               No.                                                                                                                            Smukler

    Jun 22, 2021               Review and Confer       0.05         review ECF No. 29 and confer with TB                 $250.00/hr $12.50        Open        Aron
                                                                                                                                                              Smukler

    Jun 22, 2021               Meeting with            0.60         client.                                              $150.00/hr $90.00        Open        Franchesca
                                                                                                                                                              Sarmiento

    Jun 22, 2021               File                    0.10         notice                                               $75.00/hr    $7.50       Open        Ursula
                                                                                                                                                              Lanfranco

    Jun 22, 2021               File                    0.20         notice of settlement                                 $75.00/hr    $15.00      Open        Ursula
                                                                                                                                                              Lanfranco

    Jun 22, 2021               Draft                   0.45         notices settlement widthdraw cancellation            $75.00/hr    $33.75      Open        Ursula
                                                                                                                                                              Lanfranco

    Jun 22, 2021               Meeting with            0.70         Clients in preparation for mediation.                $400.00/hr $280.00       Open        Tanesha
                                                                                                                                                              Blye

    Jun 22, 2021               Mediation               7.20         Attend                                               $400.00/hr $2,880.00 Open            Tanesha
                                                                                                                                                              Blye

    Jun 22, 2021               Mediation               0.15         clients to sign conf agreements upload send          $75.00/hr    $11.25      Open        Ursula
                                                                                                                                                              Lanfranco

    Jun 21, 2021               Draft                   1.00         Draft Responses to Opposing Counsel's Answers on $150.00/hr $150.00           Open        Ricardo
                                                                    Perez v. Ana Martinez                                                                     Arevalo

    Jun 21, 2021               Draft                   1.00         Draft Responses to Opposing Counsel's answers to     $150.00/hr $150.00       Open        Ricardo
                                                                    Perez v. A.R. Produce                                                                     Arevalo

    Jun 21, 2021               Draft                   1.00         Draft responses to Opposing Counsel's answers for    $150.00/hr $150.00       Open        Ricardo
                                                                    Bonilla v. Ana Martinez                                                                   Arevalo

    Jun 21, 2021               Draft                   1.00         Draft the responses to Opposing Counsel's answers    $150.00/hr $150.00       Open        Ricardo
                                                                    in Bonilla v. A.R. Produce                                                                Arevalo

    Jun 21, 2021               Review File             1.10         To prepare for mediation and TC with Plaintiffs.     $400.00/hr $440.00       Open        Tanesha
                                                                                                                                                              Blye

    Jun 21, 2021               TC- Client- Status      0.60         Bonilla - to prepare for mediation.                  $400.00/hr $240.00       Open        Tanesha
                                                                                                                                                              Blye

    Jun 21, 2021               TC- Client- Status      0.50         Jorge Perez - to prepare for mediation.              $400.00/hr $200.00       Open        Tanesha
                                                                                                                                                              Blye

    Jun 18, 2021               Draft                   1.00         confidential mediation summary                       $250.00/hr $250.00       Open        Aron
                                                                                                                                                              Smukler

    Jun 17, 2021               Review & Draft          1.50         Review Opposing Counsel answers to RFA, Rogs,        $150.00/hr $225.00       Open        Ricardo
                                                                    and RFP for Perez v. Ana Martinez                                                         Arevalo
                                                                              EXHIBIT B
                                                                      EXHIBIT A
Case 1:21-cv-20290-DPG Document 32-1 Entered on FLSD Docket 07/08/2021 Page 6 of 12
    DATE           ACTIVITY               DURATION   DESCRIPTION                                               RATE        TOTAL    STATUS   USER

    Jun 17, 2021   Review & Draft         1.50       Review Opposing Counsels answers to our RFA,              $150.00/hr $225.00   Open     Ricardo
                                                     ROGS, and RFP for Perez v. A.R. Produce                                                 Arevalo

    Jun 17, 2021   Review and Draft       1.50       Review all of Opposing Counsel's answers for              $150.00/hr $225.00   Open     Ricardo
                                                     ROGS, RFP and RFA to Bonilla v. Ana Martinez                                            Arevalo

    Jun 17, 2021   Review and Draft       1.50       Review all of Opposing Counsel's answers to our           $150.00/hr $225.00   Open     Ricardo
                                                     ROGS, RFA and RFP for Bonilla v. A.R. Produce                                           Arevalo

    Jun 17, 2021   Review & Research      1.00       Review Judge's Oder setting Discovery Procedures/         $150.00/hr $150.00   Open     Ricardo
                                                     Research on drafting Motion to Compel Better                                            Arevalo
                                                     Response

    Jun 17, 2021   Receive and Review     0.05       correspondence re mediation summary                       $250.00/hr $12.50    Open     Aron
                                                                                                                                             Smukler

    Jun 17, 2021   Confer with Clerk      0.10       RA re Ds' deficient discovery responses                   $250.00/hr $25.00    Open     Aron
                                                                                                                                             Smukler

    Jun 16, 2021   Review                 0.20       case tasks                                                $75.00/hr   $15.00   Open     Ursula
                                                                                                                                             Lanfranco

    Jun 14, 2021    Text Message Client   0.10                                                                 $150.00/hr $15.00    Open     Franchesca
                   re:                                                                                                                       Sarmiento

    Jun 14, 2021   Deposition             0.15       upload notice add to calendar do letter do envelope       $75.00/hr   $11.25   Open     Ursula
                                                     send                                                                                    Lanfranco

    Jun 14, 2021   Receive and Review     0.05       Notice of Taking Videotaped Deposition of Plaintiff       $250.00/hr $12.50    Open     Aron
                                                     Jorge Perez                                                                             Smukler

    Jun 14, 2021   Deposition             0.05       coordinate                                                $75.00/hr   $3.75    Open     Ursula
                                                                                                                                             Lanfranco

    Jun 14, 2021   Deposition             0.25       upload notice add to calendar do letter to envelop        $75.00/hr   $18.75   Open     Ursula
                                                     scan upload send                                                                        Lanfranco

    Jun 11, 2021   Receive and Review     0.05       notice of taking bonilla's deposition                     $250.00/hr $12.50    Open     Aron
                                                                                                                                             Smukler

    Jun 8, 2021    upload docs            0.15       discovery responses                                       $75.00/hr   $11.25   Open     Ursula
                                                                                                                                             Lanfranco

    Jun 7, 2021    Draft and Serve        0.65       Plaintiff's Rule 26 Initial Disclosure and Documents      $250.00/hr $162.50   Open     Aron
                                                                                                                                             Smukler

    Jun 4, 2021    Receive and Review     0.50       Defendants' discovery responses; develop case             $400.00/hr $200.00   Open     Tanesha
                                                     strategy.                                                                               Blye

    Jun 3, 2021    Calendar deadlines     0.05       update                                                    $75.00/hr   $3.75    Open     Ursula
                                                                                                                                             Lanfranco

    Jun 3, 2021    confer                 0.10       with OC & UL re Defendants' discovery responses           $250.00/hr $25.00    Open     Aron
                                                                                                                                             Smukler

    Jun 3, 2021    Review                 0.10       uploads tasks                                             $75.00/hr   $7.50    Open     Ursula
                                                                                                                                             Lanfranco

    Jun 2, 2021    Review and Revise      1.10       Reply to Defendant's Response in Opposition to            $400.00/hr $440.00   Open     Tanesha
                                                     Motion for Certification.                                                               Blye

    Jun 2, 2021    Research               0.95       Research                                                  $150.00/hr $142.50   Open     Franchesca
                                                                                                                                             Sarmiento

    Jun 2, 2021    Research               2.85       Prepare a Reply to Response to Motion to Certify          $150.00/hr $427.50   Open     Franchesca
                                                                                                                                             Sarmiento

    Jun 2, 2021    Draft and Confer       5.00       draft reply to response in opposition to motion for       $250.00/hr $1,250.00 Open     Aron
                                                     conditional certification, plaintiff's declaration, and                                 Smukler
                                                     plaintiff's consent to join, and confer with FS re
                                                     research and with Plaintiff re consent to join and
                                                     declaration

    May 26, 2021   Receive/Review ECF     0.25       24                                                        $250.00/hr $62.50    Open     Aron
                   No.                                                                                                                       Smukler

    May 26, 2021   Receive, Review and    0.80       response to motion to certify class.                      $400.00/hr $320.00   Open     R. Martin
                   Docket                                                                                                                    Saenz

    May 26, 2021   Confer with OC         0.05       re MET                                                    $250.00/hr $12.50    Open     Aron
                                                                                                                                             Smukler

    May 26, 2021   Receive/Review ECF     0.10       25 & correspondence to court                              $250.00/hr $25.00    Open     Aron
                   No.                                                                                                                       Smukler

    May 26, 2021   upload docs            0.05       DEFENDANTS’ RESPONSE IN OPPOSITION TO                     $50.00/hr   $2.50    Open     Ana G
                                                     MOTION FOR CONDITIONAL CERTIFICATION OF                                                 Turcios
                                                     COLLECTIVE ACTION

    May 24, 2021   Receive and Review     0.05       correspondence re discovery extension                     $250.00/hr $12.50    Open     Aron

                                                              EXHIBIT B                                                                      Smukler

                                                       EXHIBIT A
Case 1:21-cv-20290-DPG Document 32-1 Entered on FLSD Docket 07/08/2021 Page 7 of 12
    DATE           ACTIVITY                  DURATION   DESCRIPTION                                                  RATE        TOTAL    STATUS   USER

    May 14, 2021   Update                    0.05       calenedar                                                    $75.00/hr   $3.75    Open     Ursula
                                                                                                                                                   Lanfranco

    May 14, 2021   Review and Confer         0.15       review court's orders/notices/correspondence &               $250.00/hr $37.50    Open     Aron
                                                        confer with UL re settlement conference                                                    Smukler

    May 13, 2021   Review                    0.05       uploads                                                      $75.00/hr   $3.75    Open     Ursula
                                                                                                                                                   Lanfranco

    May 13, 2021   Review                    0.05       uploads                                                      $75.00/hr   $3.75    Open     Ursula
                                                                                                                                                   Lanfranco

    May 13, 2021   upload docs               0.10                                                                    $75.00/hr   $7.50    Open     Ursula
                                                                                                                                                   Lanfranco

    May 13, 2021   Review                    0.05       uploads                                                      $75.00/hr   $3.75    Open     Ursula
                                                                                                                                                   Lanfranco

    May 13, 2021   Prepare                   0.30       Letter for client re: answers to interrogatories and         $400.00/hr $120.00   Open     R. Martin
                                                        verification.                                                                              Saenz

    May 13, 2021   Correspondence            0.35       do envelopes scan upload                                     $75.00/hr   $26.25   Open     Ursula
                                                                                                                                                   Lanfranco

    May 13, 2021   Review and Research       0.15       Defendants' objections to notice of taking deposition        $250.00/hr $37.50    Open     Aron
                                                                                                                                                   Smukler

    May 12, 2021   Review File               3.30       conference with client re- outstanding discovery;     $400.00/hr $1,320.00 Open            R. Martin
                                                        finalize and serve answers to interrogatories                                              Saenz
                                                        (unverified) and responses to request for production.

    May 12, 2021   Receive/Review ECF        0.05       23                                                           $250.00/hr $12.50    Open     Aron
                   No.                                                                                                                             Smukler

    May 12, 2021   Draft                     0.55       motion for extension of time of discovery deadline &         $250.00/hr $137.50   Open     Aron
                                                        proposed order                                                                             Smukler

    May 12, 2021   upload docs               0.05       P's MOTION to Certify Class Conditional                      $50.00/hr   $2.50    Open     Ana G
                                                        Certification                                                                              Turcios

    May 11, 2021    Research, Draft, File,   1.00       research and finalize draft of motion for conditional        $250.00/hr $250.00   Open     Aron
                   and Confer                           certification & certificate of conferral, and confer with                                  Smukler
                                                        TB

    May 11, 2021   Finalize & Send           2.60       answers to interrogatories and responses to request          $400.00/hr $1,040.00 Open     R. Martin
                                                        for production concerning client Jorge Perez.                                              Saenz

    May 11, 2021   Deposition                0.10       zoom link                                                    $75.00/hr   $7.50    Open     Ursula
                                                                                                                                                   Lanfranco

    May 10, 2021   Prepare                   2.05       First draft of responses to request for production on        $400.00/hr $820.00   Open     R. Martin
                                                        behalf of Jorge Perez.                                                                     Saenz

    May 10, 2021    Conference With Client 1.80         answers to interrogatories and responses to request          $400.00/hr $720.00   Open     R. Martin
                   re-                                  for production; discuss case status with client Jorge                                      Saenz
                                                        Perez.

    May 10, 2021   Deposition                0.30       reschedule do notice update calendar send                    $75.00/hr   $22.50   Open     Ursula
                                                                                                                                                   Lanfranco

    May 10, 2021   Deposition                0.10       reschedule coordinate                                        $75.00/hr   $7.50    Open     Ursula
                                                                                                                                                   Lanfranco

    May 10, 2021   Revise and Confer         0.40       revise motion for collective action and confer with TB $250.00/hr $100.00         Open     Aron
                                                        & OC                                                                                       Smukler

    May 7, 2021    Receive and Review        0.10       mediation scheduling paperwork                               $250.00/hr $25.00    Open     Aron
                                                                                                                                                   Smukler

    May 7, 2021    Receive and Review        0.05       email re deposition                                          $250.00/hr $12.50    Open     Aron
                                                                                                                                                   Smukler

    May 7, 2021    Mediation                 0.10       docs to sign                                                 $75.00/hr   $7.50    Open     Ursula
                                                                                                                                                   Lanfranco

    May 7, 2021    Correspond with OC        0.05       re motion for conditional certification                      $250.00/hr $12.50    Open     Aron
                                                                                                                                                   Smukler

    May 7, 2021    Research, Draft, and      2.60       research deadline to move for conditional                    $250.00/hr $650.00   Open     Aron
                   Confer                               certification, draft motion for conditional certification,                                 Smukler
                                                        and confer with TB

    May 6, 2021    Receive and Review        0.05       Plaintiff's signed declaration                               $250.00/hr $12.50    Open     Aron
                                                                                                                                                   Smukler

    May 6, 2021    Update                    0.10       Update email address for Mr. Perez and resend                $75.00/hr   $7.50    Open     Jocelyn
                                                        document to get signature                                                                  Aguilar

    May 6, 2021    Deposition                0.10       coordinate                                                   $75.00/hr   $7.50    Open     Ursula
                                                                                                                                                   Lanfranco

                                                                  EXHIBIT B
                                                          EXHIBIT A
Case 1:21-cv-20290-DPG Document 32-1 Entered on FLSD Docket 07/08/2021 Page 8 of 12
    DATE           ACTIVITY                    DURATION   DESCRIPTION                                               RATE        TOTAL    STATUS   USER

    May 5, 2021    Discovery responses         0.95       drafts                                                    $75.00/hr   $71.25   Open     Ursula
                                                                                                                                                  Lanfranco

    May 5, 2021    Receive and Review          0.05       correspondence re depositions                             $250.00/hr $12.50    Open     Aron
                                                                                                                                                  Smukler

    May 5, 2021    confer                      0.05       with UL re P's discovery responses                        $250.00/hr $12.50    Open     Aron
                                                                                                                                                  Smukler

    May 5, 2021    Call                        0.10       Call client to remind about signature of declaration      $75.00/hr   $7.50    Open     Jocelyn
                                                                                                                                                  Aguilar

    May 3, 2021    Confer with Clerk           0.05       JS re declaration of opt-in plaintiff                     $250.00/hr $12.50    Open     Aron
                                                                                                                                                  Smukler

    Apr 30, 2021   Correspond                  0.05       with TB re motion for collective action                   $250.00/hr $12.50    Open     Aron
                                                                                                                                                  Smukler

    Apr 29, 2021   Review and Revise           0.70       Review Motion for Conditional Certification and           $400.00/hr $280.00   Open     Tanesha
                                                          exhibits; revise same.                                                                  Blye

    Apr 29, 2021   Review                      0.10       deadlines                                                 $75.00/hr   $7.50    Open     Ursula
                                                                                                                                                  Lanfranco

    Apr 29, 2021   Confer with Clerk           0.05       JA re opt-in plaintiff's declaration                      $250.00/hr $12.50    Open     Aron
                                                                                                                                                  Smukler

    Apr 28, 2021   Discovery                   0.20       upload discovery rqts do envelope add deadline            $75.00/hr   $15.00   Open     Ursula
                                                          check tasks                                                                             Lanfranco

    Apr 28, 2021   Prepare                     2.50       and send 12 sets of discovery for defendants.             $400.00/hr $1,000.00 Open     R. Martin
                                                                                                                                                  Saenz

    Apr 28, 2021   Deposition                  0.05       coordinate                                                $75.00/hr   $3.75    Open     Ursula
                                                                                                                                                  Lanfranco

    Apr 28, 2021    Review client's file and   0.80                                                                 $400.00/hr $320.00   Open     R. Martin
                   docket of events to                                                                                                            Saenz
                   determine status of
                   case and analyze
                   strategy and next step.

    Apr 28, 2021   Deposition                  0.20       reschedule                                                $75.00/hr   $15.00   Open     Ursula
                                                                                                                                                  Lanfranco

    Apr 28, 2021   email                       0.10       email to client to get signature                          $75.00/hr   $7.50    Open     Jocelyn
                                                                                                                                                  Aguilar

    Apr 27, 2021   Draft and Confer            1.50       draft motion for conditional certification and exhibits   $250.00/hr $375.00   Open     Aron
                                                          and confer with JA re declaration of opt-in plaintiff                                   Smukler

    Apr 21, 2021   Correspondence              0.20       letter to client mediation do envelope send               $75.00/hr   $15.00   Open     Ursula
                                                                                                                                                  Lanfranco

    Apr 21, 2021   upload docs                 0.15       def docs                                                  $75.00/hr   $11.25   Open     Ursula
                                                                                                                                                  Lanfranco

    Apr 21, 2021   Confer with Client          0.10       re discovery responses                                    $250.00/hr $25.00    Open     Aron
                                                                                                                                                  Smukler

    Apr 21, 2021   Receive and Review          0.30       Defendants' documents 000056-000105                       $250.00/hr $75.00    Open     Aron
                                                                                                                                                  Smukler

    Apr 20, 2021   Mediation                   1.25       Prepare Notice of filing proposed order scheduling        $75.00/hr   $93.75   Open     Jocelyn
                                                          mediation, efile notices, sent email to judge with                                      Aguilar
                                                          proposed order, sent email to mediator with notices
                                                          filed, coordinate interpreter for mediation by email,
                                                          prepare letters to clients and called clients for check
                                                          availability

    Apr 20, 2021   Receive and Review          0.05       ECF No. 21                                                $250.00/hr $12.50    Open     Aron
                                                                                                                                                  Smukler

    Apr 20, 2021   Mediation                   0.20       upload notice filed add to calendar                       $75.00/hr   $15.00   Open     Ursula
                                                                                                                                                  Lanfranco

    Apr 20, 2021   Mediation                   0.25       coordinate review notice                                  $75.00/hr   $18.75   Open     Ursula
                                                                                                                                                  Lanfranco

    Apr 19, 2021   Mediation                   0.10       proposed order scheduling mediation                       $75.00/hr   $7.50    Open     Ursula
                                                                                                                                                  Lanfranco

    Apr 19, 2021   Receive and Review          0.05       emails re mediation                                       $250.00/hr $12.50    Open     Aron
                                                                                                                                                  Smukler

    Apr 15, 2021   upload docs                 0.10       witness lists review tasks                                $75.00/hr   $7.50    Open     Ursula
                                                                                                                                                  Lanfranco

    Apr 14, 2021   Draft and Confer            0.25       draft amended witness list and confer with opt-in         $250.00/hr $62.50    Open     Aron
                                                          plaintiff                                                                               Smukler
                                                                   EXHIBIT B
                                                            EXHIBIT A
Case 1:21-cv-20290-DPG Document 32-1 Entered on FLSD Docket 07/08/2021 Page 9 of 12
    DATE           ACTIVITY                DURATION   DESCRIPTION                                             RATE        TOTAL     STATUS   USER

    Apr 14, 2021   Receive and Review      0.10       Defendants' witness list                                $250.00/hr $25.00     Open     Aron
                                                                                                                                             Smukler

    Apr 14, 2021   upload docs             0.05       witness list                                            $75.00/hr   $3.75     Open     Ursula
                                                                                                                                             Lanfranco

    Apr 14, 2021   Draft, Confer, and      0.60       Draft and serve initial witness list, and confer with   $250.00/hr $150.00    Open     Aron
                   Serve                              plaintiff and opt-in plaintiff                                                         Smukler

    Apr 14, 2021   Receive and Review      0.05       ECF No. 19                                              $250.00/hr $12.50     Open     Aron
                                                                                                                                             Smukler

    Apr 13, 2021   Mediation               0.15       coordinate review notice                                $75.00/hr   $11.25    Open     Ursula
                                                                                                                                             Lanfranco

    Apr 13, 2021   Receive, Review, and    0.10       receive email from UL and confer with RH re motion      $250.00/hr $25.00     Open     Aron
                   Confer                             for conditional certification                                                          Smukler

    Apr 13, 2021   Discovery requests      0.40       upload requests add deadline do letters do              $75.00/hr   $30.00    Open     Ursula
                                                      envelopes scan upload send                                                             Lanfranco

    Apr 13, 2021   Calendar deadlines      2.00       trial order do letter to client do envelope scan upload $75.00/hr   $150.00   Open     Ursula
                                                      send reminders                                                                         Lanfranco

    Apr 13, 2021   Draft and Confer        0.50       draft witness list and confer with RH                   $250.00/hr $125.00    Open     Aron
                                                                                                                                             Smukler

    Apr 12, 2021   Draft                   0.20       Letter to client about trial and drafted up Notice of   $75.00/hr   $15.00    Open     Jocelyn
                                                      selection of mediator.                                                                 Aguilar

    Apr 12, 2021   Receive and Review      0.10       ECF No. 18                                              $250.00/hr $25.00     Open     Aron
                                                                                                                                             Smukler

    Apr 12, 2021   Receive and Review      0.10       discovery requests to Ps                                $250.00/hr $25.00     Open     Aron
                                                                                                                                             Smukler

    Apr 12, 2021   Translations            0.50       call client translate for tanesha                       $75.00/hr   $37.50    Open     Ursula
                                                                                                                                             Lanfranco

    Apr 12, 2021   Receive and Review      0.05       emails re mediation                                     $250.00/hr $12.50     Open     Aron
                                                                                                                                             Smukler

    Apr 9, 2021    Receive and Review      0.05       email re Ps' witness list                               $250.00/hr $12.50     Open     Aron
                                                                                                                                             Smukler

    Apr 8, 2021    Receive and Review      0.05       emails re mediation                                     $250.00/hr $12.50     Open     Aron
                                                                                                                                             Smukler

    Apr 8, 2021    Calendar deadlines      0.40       SCHEDULING ORDER SETTING CIVIL TRIAL                    $50.00/hr   $20.00    Open     Ana G
                                                      DATE AND PRETRIAL SCHEDULE, REQUIRING                                                  Turcios
                                                      MEDIATION, AND REFERRING CERTAIN
                                                      MOTIONS TO MAGISTRATE JUDGE

    Mar 25, 2021    Strategize, Prepare,   1.30       strategize re settlement, prepare damages analysis,     $250.00/hr $325.00    Open     Aron
                   and Confer                         and confer with Plaintiff Jorge Perez re settlement                                    Smukler
                                                      and time records produced by D

    Mar 24, 2021   Receive and Review      0.15       notice of taking Corp. Rep. deposition & related        $250.00/hr $37.50     Open     Aron
                                                      emails with OC                                                                         Smukler

    Mar 24, 2021   Deposition              0.15       notice send add to calendar                             $75.00/hr   $11.25    Open     Ursula
                                                                                                                                             Lanfranco

    Mar 23, 2021   Review, Confer, and     0.80       review documents produced, confer with P re same        $250.00/hr $200.00    Open     Aron
                   Strategize                         & possible settlement, & strategize as to damages                                      Smukler

    Mar 22, 2021   Deposition              0.10       coordinate                                              $75.00/hr   $7.50     Open     Ursula
                                                                                                                                             Lanfranco

    Mar 18, 2021   Call                    0.20       Schedule phone conference with both clients             $75.00/hr   $15.00    Open     Jocelyn
                                                                                                                                             Aguilar

    Mar 18, 2021   Correspondence          0.03       upload do envelope mark task                            $75.00/hr   $2.50     Open     Ursula
                                                                                                                                             Lanfranco

    Mar 18, 2021   Confer, Review, and     0.50       Confer with OC re settlement, review time cards         $250.00/hr $125.00    Open     Aron
                   Strategize                         produced by D, and strategize re settlement                                            Smukler

    Mar 16, 2021   Deposition              0.15       coordinate                                              $75.00/hr   $11.25    Open     Ursula
                                                                                                                                             Lanfranco

    Mar 16, 2021   Review and Confer       0.15       review file & confer with UL re depositions             $250.00/hr $37.50     Open     Aron
                                                                                                                                             Smukler

    Mar 15, 2021   Receive and Review      0.10       emails re settlement conference                         $250.00/hr $25.00     Open     Aron
                                                                                                                                             Smukler

    Mar 15, 2021   Review                  0.30       case tasks                                              $75.00/hr   $22.50    Open     Ursula
                                                                                                                                             Lanfranco


                                                              EXHIBIT B
                                                        EXHIBIT A
Case 1:21-cv-20290-DPG Document 32-1 Entered on FLSD Docket 07/08/2021 Page 10 of 12
    DATE           ACTIVITY                DURATION   DESCRIPTION                                             RATE        TOTAL    STATUS   USER

    Mar 9, 2021    email                   0.10       email sent to both plaintiff with documents for their   $75.00/hr   $7.50    Open     Jocelyn
                                                      review                                                                                Aguilar

    Mar 9, 2021    Review                  0.05       uploads                                                 $75.00/hr   $3.75    Open     Ursula
                                                                                                                                            Lanfranco

    Mar 8, 2021    Receive and Review      0.40       ECF No. 17 and supporting documents                     $250.00/hr $100.00   Open     Aron
                                                                                                                                            Smukler

    Mar 8, 2021    upload docs             0.05       2021-03-08 D's RESPONSE TO P's SOC                      $50.00/hr   $2.50    Open     Ana G
                                                                                                                                            Turcios

    Feb 26, 2021   Review                  0.05       uploads                                                 $75.00/hr   $3.75    Open     Ursula
                                                                                                                                            Lanfranco

    Feb 25, 2021   upload docs             0.05       JSR JOINT PROPOSED SCHEDULING ORDER                     $50.00/hr   $2.50    Open     Ana G
                                                                                                                                            Turcios

    Feb 25, 2021   Draft and Confer        0.80       JSR & Proposed Order & confer with OC                   $250.00/hr $200.00   Open     Aron
                                                                                                                                            Smukler

    Feb 23, 2021   Review                  0.05       uploads                                                 $75.00/hr   $3.75    Open     Ursula
                                                                                                                                            Lanfranco

    Feb 23, 2021   upload docs             0.05       ORDERS                                                  $50.00/hr   $2.50    Open     Ana G
                                                                                                                                            Turcios

    Feb 23, 2021   upload docs             0.05       NOTICE OF COMPLIANCE                                    $50.00/hr   $2.50    Open     Ana G
                                                                                                                                            Turcios

    Feb 22, 2021   Draft and File          0.15       notice of compliance                                    $250.00/hr $37.50    Open     Aron
                                                                                                                                            Smukler

    Feb 22, 2021   Review, Prepare, and    0.20       bate stamp & redact P's statement of claim              $250.00/hr $50.00    Open     Aron
                   Serve                              documents                                                                             Smukler

    Feb 22, 2021   Correspond              0.40       with client & prior counsel re supporting documents     $250.00/hr $100.00   Open     Aron
                                                                                                                                            Smukler

    Feb 18, 2021   Update                  0.10       deadlines                                               $75.00/hr   $7.50    Open     Ursula
                                                                                                                                            Lanfranco

    Feb 18, 2021   Rule 26 Conference      0.15       coordinate send email                                   $75.00/hr   $11.25   Open     Ursula
                                                                                                                                            Lanfranco

    Feb 18, 2021   Settlement Conference 0.35         coordinate send email to judge                          $75.00/hr   $26.25   Open     Ursula
                                                                                                                                            Lanfranco

    Feb 17, 2021   Review and Confer       0.10       Review Orders & confer with UL re JSR &                 $250.00/hr $25.00    Open     Aron
                   with Clerk                         conference                                                                            Smukler

    Feb 17, 2021   Correspond with clerk   0.05       RH re client documents                                  $250.00/hr $12.50    Open     Aron
                                                                                                                                            Smukler

    Feb 17, 2021   Receive and Review:     0.20       ECF No. 12                                              $250.00/hr $50.00    Open     Aron
                                                                                                                                            Smukler

    Feb 16, 2021   Review                  0.20       case tasks follow ups coordinate rule 26 conf           $75.00/hr   $15.00   Open     Ursula
                                                      settlement conf                                                                       Lanfranco

    Feb 16, 2021   upload docs             0.05       Magistrate Judge Edwin G. Torres added per DE           $50.00/hr   $2.50    Open     Ana G
                                                      [14] Order of Recusal                                                                 Turcios

    Feb 16, 2021   Receive and Review:     0.05       ECF No. 14                                              $250.00/hr $12.50    Open     Aron
                                                                                                                                            Smukler

    Feb 16, 2021   upload docs             0.05       ORDER OF RECUSAL                                        $50.00/hr   $2.50    Open     Ana G
                                                                                                                                            Turcios

    Feb 15, 2021   rule 26 disclosures     0.40                                                               $150.00/hr $60.00    Open     Randy A
                                                                                                                                            Hernandez

    Feb 15, 2021   upload docs             0.10       ANSWER and Affirmative Defenses to Complaint            $50.00/hr   $5.00    Open     Ana G
                                                      SOC                                                                                   Turcios

    Feb 15, 2021   Draft & File            0.55       Ps' Statement of Claim                                  $250.00/hr $137.50   Open     Aron
                                                                                                                                            Smukler

    Feb 12, 2021   confer                  0.05       with BG re P's information                              $250.00/hr $12.50    Open     Aron
                                                                                                                                            Smukler

    Feb 11, 2021   Review and Confer       0.10       review Order & confer with UL re JSR                    $250.00/hr $25.00    Open     Aron
                                                                                                                                            Smukler

    Feb 11, 2021   Review and              0.10       with BG re information on the opt-in Plaintiff          $250.00/hr $25.00    Open     Aron
                   Correspond                                                                                                               Smukler

    Feb 9, 2021    Review and Confer       0.40       Review file & orders and confer with OC re JSR          $250.00/hr $100.00   Open     Aron
                                                                                                                                            Smukler

    Feb 4, 2021    Review                  0.05       uploads                                                 $75.00/hr   $3.75    Open     Ursula
                                                                EXHIBIT B                                                                   Lanfranco

                                                        EXHIBIT A
Case 1:21-cv-20290-DPG Document 32-1 Entered on FLSD Docket 07/08/2021 Page 11 of 12
    DATE           ACTIVITY                    DURATION   DESCRIPTION                                       RATE        TOTAL    STATUS   USER

    Feb 4, 2021    Rule 26 Conference          0.10       coordinate send email                             $75.00/hr   $7.50    Open     Ursula
                                                                                                                                          Lanfranco

    Feb 4, 2021    upload docs                 0.05       NOTICE OF FILING NOTICES OF CONSENT TO            $50.00/hr   $2.50    Open     Ana G
                                                          JOIN                                                                            Turcios

    Feb 4, 2021    upload docs                 0.10       2021-02-04 CERTIFICATE OF INTERESTED              $50.00/hr   $5.00    Open     Ana G
                                                          PERSONS 2021-02-04 NOTICE OF ATTORNEY                                           Turcios
                                                          APPEARANCE 2021-01-04 P's NOTICE OF
                                                          PENDENCY OF OTHER ACTIONS

    Feb 4, 2021    Receive and Review:         0.10       ECF No. 9 & 10                                    $250.00/hr $25.00    Open     Aron
                                                                                                                                          Smukler

    Feb 1, 2021    upload docs                 0.05       2021-02-01 Return of service to Defendants        $50.00/hr   $2.50    Open     Ana G
                                                                                                                                          Turcios

    Feb 1, 2021     Receive and review         0.15                                                         $250.00/hr $37.50    Open     Aron
                   certificate of interested                                                                                              Smukler
                   parties and notice of
                   pendency

    Jan 26, 2021   Receive and Review:         0.10       ROS on Defendants                                 $250.00/hr $25.00    Open     Aron
                                                                                                                                          Smukler

    Jan 25, 2021   Receive and Review:         0.15       ECF No. 4                                         $250.00/hr $37.50    Open     Aron
                                                                                                                                          Smukler

    Jan 25, 2021   upload docs                 0.05       ORDER REQUIRING SCHEDULING REPORT,                $50.00/hr   $2.50    Open     Ana G
                                                          CERTIFICATE OF INTERESTED PARTIES, AND                                          Turcios
                                                          STATEMENT OF CLAIM AND RESPONSE IN FLSA
                                                          CASE

    Jan 25, 2021   upload docs                 0.10       Clerks Notice of Judge Assignment to Judge Beth   $50.00/hr   $5.00    Open     Ana G
                                                          Bloom. SUMMONS ISSUED                                                           Turcios

    Jan 25, 2021    Review client's file and   0.40                                                         $400.00/hr $160.00   Open     R. Martin
                   docket of events to                                                                                                    Saenz
                   determine status of
                   case and analyze
                   strategy and next step.

    Jan 25, 2021   Receive and Review:         0.05       ECF No. 2                                         $250.00/hr $12.50    Open     Aron
                                                                                                                                          Smukler

    Jan 22, 2021   upload docs                 0.15       complaint review tasks                            $75.00/hr   $11.25   Open     Ursula
                                                                                                                                          Lanfranco

    Jan 22, 2021   File Complaint,             0.20                                                         $250.00/hr $50.00    Open     Aron
                   Summonses, & Civil                                                                                                     Smukler
                   Cover Sheet

    Jan 22, 2021   Draft                       0.25       summonses and civil cover sheet                   $250.00/hr $62.50    Open     Aron
                                                                                                                                          Smukler




                                                                 EXHIBIT B
                                                           EXHIBIT A
Case 1:21-cv-20290-DPG Document 32-1 Entered on FLSD Docket 07/08/2021 Page 12 of 12
           Bonilla, Reyna v. AR Produce
                                                                                                                       Case details generated 07/02/2021




                                                                                                                                       Add Expense

    DATE     ACTIVITY                           QUANTITY   COST       DESCRIPTION                                   TOTAL         STATUS      USER

    Jun 22, Mediation                           1.0        $1,000.00 Karen Evans, Esq. from Litigation Resolution   $1,000.00 Open            Thor A
    2021                                                             Incorporated                                                             Garcia

    Jun 22, Interpreting                        1.0        $660.00    by Fiorella Warger                            $660.00       Open        Thor A
    2021                                                                                                                                      Garcia

    Mar 8,   Flat fee for copying and postage   1.0        $100.00                                                  $100.00       Open        Aron
    2021     per retainer agreement                                                                                                           Smukler

    Mar 8,   File Complaint, Summons, and       1.0        $402.00                                                  $402.00       Open        Aron
    2021     Civil Cover Sheet                                                                                                                Smukler

    Jan 26, Service of Process on               1.0        $40.00     To be served on: A.R. PRODUCE &               $40.00        Open        Thor A
    2021    Defendant(s)                                              TRUCKING CORPORATION c/o Ana                                            Garcia
                                                                      Martinez

    Jan 26, Service of Process on               1.0        $40.00     To be served on: ANA MARTINEZ                 $40.00        Open        Thor A
    2021    Defendant(s)                                                                                                                      Garcia




                                                                    EXHIBIT B
                                                            EXHIBIT A
